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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 RAJESH M. SHAH, Individually and On        Case No. 3:16-cv-00815-TLS-MGG
 Behalf of All Others Similarly Situated,

                           Plaintiff,

              v.

 ZIMMER BIOMET HOLDINGS, INC.,
 DAVID C. DVORAK, DANIEL P.
 FLORIN, and ROBERT J. MARSHALL
 JR.,

                           Defendants.




NOTICE OF NON-OPPOSITION TO MOTION OF RAJESH SHAH, MATT BRIERLEY
AND ERIC LEVY FOR APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF
                            COUNSEL
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       Lead Plaintiff movants Rajesh Shah, Matt Brierley and Eric Levy (“Movants”)

respectfully submit this Notice of Non-Opposition and hereby notify the Court that their motion

is unopposed. On January 31, 2017, Movants submitted their motion for appointment as lead

plaintiff and approval of counsel. No similar motions were filed by any other putative class

members in this action. Accordingly, Movants’ motion for appointment as lead plaintiff and

approval of counsel is unopposed.

       Movants’ motion papers previously submitted to the Court establish that they have

satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure. Accordingly,

Movants respectfully request this Court to issue an Order: (1) appointing Rajesh Shah, Matt

Brierley and Eric Levy as Lead Plaintiff of this Action; (2) approving their selection of Glancy

Prongay & Murray LLP as Lead Counsel with Katz & Korin, PC as Liaison Counsel for the

Class; and (3) granting such other and further relief as the Court may deem to be just and proper.


Dated: February 15, 2017                        GLANCY PRONGAY & MURRAY LLP


                                                By: s/ Lesley F. Portnoy
                                                Lionel Z. Glancy (Pro Hac Vice to be filed)
                                                Robert V. Prongay (Pro Hac Vice to be filed)
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                                                Attorneys for Movants



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                                    PROOF OF SERVICE


       I, the undersigned say:

       I am not a party to the above case and am over eighteen years old.

       On February 15, 2017, I served true and correct copies of the foregoing document, by

posting the document electronically to the ECF website of the United States District Court for

the Northern District of Indiana, for receipt electronically by the parties listed on the Court’s

Service List.

       I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on February 15, 2017, at Los Angeles, California.



                                                    s/ Lesley F. Portnoy
                                                    Lesley F. Portnoy
CM/ECF USDC-INND Version 6.1 Live DB-                             https://ecf.innd.uscourts.gov/cgi-bin/MailList.pl?519769886382281-L_1_0-1


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         Electronic Mail Notice List

         The following are those who are currently on the list to receive e-mail notices for this case.

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         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
         therefore require manual noticing). You may wish to use your mouse to select and copy this list into your word
         processing program in order to create notices or labels for these recipients.

          (No manual recipients)




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